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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 ACQIS LLC,
 a Texas limited liability company,
                      Plaintiff,
        v.                                                    CONSOLIDATED
                                                           JURY TRIAL DEMANDED
 ZT GROUP INT'L, INC.,                             Civil Action No.: 6:23-cv-00881-ADA

                      Defendant.

 ADVANTECH SO., LTD.,                              Civil Action No.: 6:23-cv-00882-ADA

                      Defendant.

 MICRO-STAR INTERNATIONAL CO.,                     Civil Action No.: 6:23-cv-00883-ADA
 LTD. et al,

                      Defendant.

 CISCO SYSTEMS, INC.,                              Civil Action No.: 6:23-cv-00884-ADA

                      Defendant.


                    JOINT CLAIM CONSTRUCTION STATEMENT

       Pursuant to this Court’s August 22, 2024 Scheduling Order, Plaintiff ACQIS LLC and

Defendants: ZT Group Int’l, Inc.; Advantech Co. Ltd.; Micro-Star International Co., Ltd., MSI

Computer Co. Ltd., and MSI Electronics Co. Ltd.; and Cisco Systems, Inc. (collectively, the

“Parties”) submit this Joint Claim Construction Statement.

       Concurrently with this submission, the Parties jointly submit, via email to the law clerk,

PDF versions of all as-filed claim construction briefing and exhibits.

I.     THE PATENTS-IN-SUIT

       The patents-in-suit are U.S. Patent Nos.: 8,234,436 (“’436 patent”); 8,977,797 (“’797
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patent”); 9,529,768 (“’768 patent”); 9,529,769 (“’769 patent”); 9,703,750 (“’750 patent”);

RE44,654 (“’654 patent”); RE45,140 (“’140 patent”); RE46,947 (“’947 patent”).

        The asserted claims are as follows:

       Patent      Claims
       ‘436        13,14
       ’797        36, 38
       ’768        1–7, 9, 10, 13-16, 33-35, 39, 40
       ’769        19
       ’750        1, 2, 4-7, 10, 11, 21, 24–27, 29, 31, 34-35, 37, 38, 44–49
       ’654        20, 21, 23, 24
       ’140        14, 17, 30, 31, 35
       ’947        14, 19, 29, 35, 48, 54

II.     AGREED CONSTRUCTIONS

        Pursuant to the August 22, 2024 Scheduling Order, the Parties met and conferred to

narrow the terms in dispute but were unable to agree as to any constructions.

III.    LIST OF DISPUTED TERMS FOR CONSTRUCTION

        The Parties provide the following list of disputed terms for construction, in the order they

are addressed in the Parties’ claim construction briefing.

IV.     UPDATED POSITION ON APPOINTMENT OF TECHNICAL ADVISOR

        As originally stated in the July 12, 2024 CRSR, ACQIS requests the appointment of Dr.

Joshua Yi as technical advisor to assist the Court with claim construction or other technical issues,

and notes that the Court has appointed Dr. Yi as technical advisor in the ACQIS v. ASUSTek,

ACQIS v. Wiwynn, and ACQIS v. Sony matters. Defendants defer to the Court and take no position

on whether a technical advisor should be appointed in this case.




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 Term for Construction         Patents and Claims                 Plaintiff’s Proposed             Defendants’ Proposed
                                                                  Construction                     Construction
 “low voltage differential     ’436 patent, claims 13, 14         No construction                  “[a channel for
 signal (LVDS) [channel]” /                                       needed – plain and               carrying] a signal in
 “LVDS” proposed by            ’797 patent, claims 36, 38         ordinary meaning.                accordance with
 Defendants)                                                                                       ANSI/TIA/EIA-644 or
                               ’768 patent, claims 1–7, 9, 10,                                     IEEE 1596.3”
                               13-16, 33-35, 39, 40)

                               ’750 patent, claims 1, 2, 4–7,
                               10, 11, 21, 24–27, 29, 31, 35,
                               37, 38, 44–48

                               ’654 patent claims 20, 21, 23,
                               24

                               ’140 patent, claims 14, 17, 30,
                               31, 35

                               ’947 patent, claims 14, 19, 29,
                               35, 48, 54

                               ’769 patent, claim 19




“Peripheral        Component ‘436 patent, claims 13, 14          “a transaction, in accordance or “a transaction, in accordance with
Interconnect       (PCI) bus                                     backwards compatible with the the industry standard PCI Local
transaction”/”PCI bus        ’797 patent, claims 36, 38          industry standard PCI Local Bus Bus Specification, for
transaction” (proposed by                                                                         communication with an
Plaintiff and Defendants)                                        Specification, for               interconnected peripheral
                             ’768 patent, claims 1-7, 9, 10,
                                                                 communication with an            component”
                             13-16, 33, 35, 39
                                                                 interconnected peripheral
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 Term for Construction           Patents and Claims                   Plaintiff’s Proposed             Defendants’ Proposed
                                                                      Construction                     Construction
                                 ’750 patent, claims 1-2, 5-6,       component”
                                 10-11, 21, 25-27, 29, 31, 35, 38,
                                 44-47

                                 ‘654 patent, claim 21, 24



                                 ‘140 patent, claim 30

                                 ’947 patent, claims 19, 29, 35,
                                 48, 54
“convey                                                               conveyed / transmitted /        “communicating a PCI bus
[/conveying/conveys/comm         ‘436 patent, Claims 13, 14           communicated. The claims, as transaction, including all
unicating/communicate/tr                                              written, are clear, and this    address, data, and control bits”
ansmitting]       …      a       ’797 patent, claims 36, 38           language of the claims does not
Peripheral     Component                                              require construction. Plain and
Interconnect (PCI) bus           ’768 patent, claims 1-7, 9-10,       ordinary meaning.
transaction [/of a PCI bus       13-16, 39
transaction]” (proposed by
Defendants)                      ‘654 patent, claims 21, 24

                                 ’140 patent, claims 30

                                 ’654 patent, claims 21, 24

                                 ’947 patent, claims 19, 29, 35,
                                 48, 54
 Claims reciting an PCI bus      ‘436 patent, claim 13            “encoded”, “serial[ly]”: plain       “a PCI bus transaction that has
 transaction or an encoded PCI                                    and ordinary meaning.                been serialized from a parallel
 bus transaction in “serial bit ’797 patent, claim 36                                                  form”
 stream”, “serial form” or                                       The EMC construction of
 “serially encoded” (proposed ’768 patent, claims 1, 3, 4, 6, 7, “[e]ncoded . . . serial bit stream of
 by Defendants)                 10, 13, 15, 39
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 Term for Construction            Patents and Claims                    Plaintiff’s Proposed              Defendants’ Proposed
                                                                        Construction                      Construction
                                                                      Peripheral Component
                                                                      Interconnect (PCI) bus
                                                                      transaction” and related terms
                                                                      applies only to certain claims and
                                                                      terms, i.e., “claims reciting an
                                                                      ‘encoded’ PCI bus transaction”
                                                                      and more specifically, terms that
                                                                      recite (1) “encoded,” (2) “serial,”
                                                                      and (3) “PCI bus transaction,”
                                  ’750 patent, claims 1, 5, 10, 21,
                                  25, 27, 29, 31, 35, 44, 46

                                  ’654 patent, claims 21, 24

                                  ’140 patent, claim 30

                                  ’947 patent, claims 19, 29, 35,
                                 48, 54

“of      [a]       Peripheral     ’436 patent, claims 13-14           “of a”: plain and ordinary      “from a transaction that is in
Component       Interconnect                                          meaning.                        accordance with the industry
(PCI) bus transaction [/of [a]    ʼ797 patent, claims 36, 38                                          standard PCI Local Bus
PCI bus transaction]”                                                                                 Specification, for communication
                                  ’768 patent, claims 1-7, 9-10,                                      with an interconnected peripheral
                                  13-16, 33, 35, 39                                                   component”

                                  ʼ750 patent, claims 1-2, 5-6, 10-
                                  11, 21, 25, 26, 27, 29, 31, 35,
                                  38, 44, 45, 46, 47

                                  ’654 patent, claims 21, 24
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 Term for Construction         Patents and Claims                Plaintiff’s Proposed            Defendants’ Proposed
                                                                 Construction                    Construction
                               ’140 patent claim 30

                               ’947 patent, claims 19, 29, 35,
                               48, 54
“console”                      ’768 patent claim 34              “a chassis or enclosure, housing “a chassis that connects several
                                                                 one or more coupling sites, that components of a computer
                               ’750 patent claims 5, 10, 24, 35, connects components of a system”
                               44, 48                            computer system”

                                ’654 patent claims 20, 23

                               ’140 patent claims 14, 31




 “USB”/“Universal Serial Bus ʼ768 patent, claims 34, 40          Plain and ordinary meaning.     “[data/information   conveyed
 (USB) protocol”/“Universal                                                                      according to] the protocols
 Serial Bus (USB) protocol   ’750 patent, claims 4, 7, 24, 46,                                   defined in the Universal Serial
 [data/information]”         48                                                                  Bus Specification Revision 2.0
 (proposed by Defendants)                                                                        and the prior versions of this
                             ’654 patent, claims 20, 23                                          standard”

                               ’947 patent, claim 14

                               ’769 patent, claim 19
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 Term for Construction            Patents and Claims          Plaintiff’s Proposed          Defendants’ Proposed
                                                              Construction                  Construction
“coupling the integrated          ’797 patent, claim 36       Plain and ordinary meaning.   Indefinite
CPU and interface device to
a peripheral device attached
to the motherboard through
the LVDS channel with the
adapted        number        of
differential signal line pairs”




“peripheral bridge”               ’768 patent, claims 4, 10   Plain and ordinary meaning.   “a component that interfaces
                                                                                            with peripheral buses or
                                  ’750 patent, claim 29                                     peripheral devices”

                                  ’654 patent, claim 23

                                  ’947 patent, claim 35
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SUBMITTED: December 26, 2024


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                                 CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on December 26, 2024, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.

                                                    /s/ Stacy Starr
                                                    Dorsey & Whitney LLP
